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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

        UNITED STATES OF AMERICA

        v.                                  Case No. 8:10-cr-550-T-17MAP

        JOEL A. STREINZ

                                 FORFEITURE MONEY JUDGMENT

              THIS CAUSE comes before the Court upon the United States of America's
                                            C -b & r. Jb X 5   ;
        motion for a forfeiture money judgmenfagainst the defendant in the amount of

        $1,072,676.31.

               Being fully advised of the relevant facts, the Court hereby finds that at least

        $1,072,676.31 in proceeds was obtained from the conspiracy to commit wire fraud

        and to make material false statements to an FDIC-insured bank, to which the

        defendant pled guilty.

              Accordingly, it is hereby:

               ORDERED, ADJUDGED, and DECREED that for good cause shown, the

        United States’ motion is GRANTED.

               It is FURTHER ORDERED that, pursuant to 18 U.S.C. § 982(a)(2)(A) and

        Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure, the defendant shall be

        held jointly and severally liable with Lisa Rotolo for a forfeiture money judgment in

        the amount of up to $1,072,676.31. The net proceeds from the substitute assets

        the defendant previously forfeited shall be credited toward the defendant’s

        forfeiture money judgment.
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                 It is FURTHER ORDERED that, upon entry, this order shall become a final

        order of forfeiture as to the defendant.

                 The Court retains jurisdiction to address any third party claim that may be

        asserted in these proceedings, to enter any further order necessary for the

        forfeiture and disposition of such property, and for any other substitute assets that

        the United States may be entitled to seek up to the amount of the forfeiture money

        judgment.

                 DONE and ORDERED in Tampa, Florida, this                  ^ ~ ~ day

        of   J                            , 2016.




        Copies 1
        Suzanne C. Nebesky, AUSA
        Counsel of Record
